     Case 4:21-cv-01252-LSC-SGC Document 14 Filed 07/08/22 Page 1 of 1                     FILED
                                                                                   2022 Jul-08 PM 01:30
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA

                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        MIDDLE DIVISION

WILLIAM RANDALL DOWDY, JR., )
                            )
    Plaintiff,              )
                            )
v.                          )                  Case No. 4:21-cv-01252-LSC-SGC
                            )
SOUTHERN HOME HEALTH        )
PARTNERS, et al.,           )
                            )
    Defendants.             )

                          MEMORANDUM OPINION

      On June 1, 2022, the magistrate judge entered a report recommending this

matter, filed pro se by William Randall Dowdy, Jr., pursuant to 42 U.S.C. § 1983,

be dismissed for failure to prosecute. (Doc. 12). The report and recommendation

has been returned by the Postal Service as undeliverable. (Doc. 13).

      After careful consideration of the record in this case and the magistrate judge’s

report, the court ADOPTS the report and ACCEPTS the recommendation.

Consistent with that recommendation, the claims in this matter will be dismissed for

failure to prosecute. A final judgment will be entered.

      DONE and ORDERED on July 8, 2022.



                                            _____________________________
                                                    L. Scott Coogler
                                               United States District Judge
                                                                                  160704
